                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
vs.                                          )        Case No. 12-0378-06-CR-W-GAF
                                             )
JULIANNE MARIE SAVONA,                       )
                                             )
                      Defendant.             )

                                             ORDER

       On October 2, 2014, defendant entered a plea of guilty to Counts One, Two and Eight of

the Indictment before United States Magistrate Judge Robert E. Larsen. On October 3, 2014,

Judge Larsen issued his Report and Recommendation (Doc. #144).

       Upon careful and independent review, this Court finds that defendant’s plea was

knowledgeable and voluntary and that the offenses charged are supported by an independent

basis in fact containing each of the essential elements of such offenses. Accordingly, this Court

hereby adopts and incorporates as its own Opinion and Order the Report and Recommendation

of United States Magistrate Judge Robert E. Larsen.

       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and

defendant is adjudged guilty. The parties will be advised of the date of the sentencing hearing.

SO ORDERED.

                                                      s/ Gary A. Fenner
                                                      GARY A. FENNER, JUDGE
                                                      UNITED STATES DISTRICT COURT

DATED: October 20, 2014




       Case 4:12-cr-00378-GAF          Document 149        Filed 10/20/14      Page 1 of 1
